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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

ROBBIN MINICA. §
Plaintiff, :
§

Ms § Civil Action No. 10 AAA
SIGNIFY NORTH AMERICA 3
CORPORATION., 5
Defendants. §
§

 

PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

 

For her Original Complaint against Defendant Signify North America Corporation

(hereinafter “Signify”), Plaintiff Robbin Minica shows the following:
Introduction

1. This is an action for unpaid overtime compensation under the Fair Labor Standards
Act (FLSA). Plaintiff Robbin Minica is a current employee (Component Planning—Operational
Buyer) of Defendant Signify North America Corporation. At all times relevant to this lawsuit,
Plaintiff has been misclassified as an exempt employee paid on a salary basis. Because Plaintiff
did not qualify for an exemption from the overtime provisions of the FLSA, and because Plaintiff
worked in excess of 40 hours in many workweeks over the last three years, Plaintiff is owed

overtime compensation as well as attendant liquidated damages.
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Parties

2. Plaintiff Robbin Minica is an individual residing in New Braunfels, Texas 78132.
Her current address is 1625 Misty Hollow, New Braunfels, Texas. She may be served with papers
through the undersigned counsel.

3. Defendant Signify North America Corporation is a corporation organized under the
laws of the State of New Jersey. It is registered to do business in the State of Texas. According to
the Texas Secretary of State, Defendant’s principal place of business is located at 200 Franklin
Square Dr. Somerset, New Jersey 08873. It may be served with process through its Registered
Agent, Corporation Service Company dba CSC-Lawyers Incorporating Service Company at 211
E. 7" Street, Suite 620, Austin, Texas.

Jurisdiction and Venue

4, The Court possesses personal jurisdiction over Defendant because Defendant is
licensed to do business in Texas and because the Defendant regularly conducts business in
Texas. The Court possesses subject matter jurisdiction over this case because Plaintiff sues under
a federal statute, the Fair Labor Standards Act. Venue is proper in the Western District of Texas
because a substantial portion of the events giving rise to Plaintiff's claims occurred in the Western
District. In this regard, at all times relevant to this lawsuit, Plaintiff worked for Defendant within
the Western District.

Statement of Facts

5. Defendant provides lighting products across many sectors and industries in North
America. Plaintiff has been employed by Signify North American Corp. and its predecessors in
interest, Philips Lighting North America Corp. and Genlyte Thomas Group, L.L.C., since 2002 in

the outdoor lighting division (currently known as Signify Gardco). Plaintiff worked out of
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Defendant’s San Marcos, Texas plant, and most recently, has been teleworking from her home in
New Braunfels, Texas.

6. Over the last three years, Plaintiff has had three different job titles—Factory Order
Desk Lead, then Customer Order Specialist, and as of last month, Component Planning—
Operational Buyer. However, during all times relevant to this lawsuit, Plaintiff's job duties have,
with just a few insignificant exceptions, remained largely the same. They include: checking the
accuracy of lighting pole orders, creating purchase orders and sending them to pole vendors,
assigning ship dates to purchase orders, closing out purchase orders once she receives tracking
information from vendors, approving vendor invoices (but only to ensure that they match the
corresponding purchase orders), answering email inquiries regarding pole orders, and third-party
drop ship products.

7. During all times relevant to this lawsuit, Plaintiff has not supervised two or more
employees, has not had authority to hire or fire (or make effective recommendations to hire and
fire), and she does not exercise discretion and independent judgment with respect to any matters
of significance.

8. Plaintiff regularly works in excess of forty hours per week in her job with
Defendant’s management is well aware that Plaintiff works long hours.

9, Nevertheless, Defendant has at all times relevant to this lawsuit classified Plaintiff
as an exempt salary employee paid on a salary basis. Plaintiff has not been compensated the
overtime premium for hours worked over 40 in any workweek over the last three years.

Causes of Action: Violations of the Overtime Provisions of the FLSA

10. __‘ Plaintiff re-alleges and incorporates by reference Paragraphs 1 through __ supra.
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11. At all times relevant to this lawsuit, Defendant has been an employer within the
meaning of the Fair Labor Standards Act, has engaged in interstate commerce, and has had gross
annual sales in excess of $500,000.00.

12. At all times relevant to this lawsuit, Plaintiff has been an employee of Defendant.
Plaintiff has likewise directly engaged in interstate commerce while performing her work on behalf
of Defendant by taking and facilitating interstate orders.

13. Although Defendant has classified Plaintiff as exempt, has paid her on a salary
basis, and has not been paid an overtime premium in workweeks when she has worked in excess
of 40 hours. However, Plaintiff contends in this lawsuit that she has been misclassified as exempt,
and that at all times relevant to this lawsuit, there has been no basis for Defendants to classify
Plaintiff as exempt under the FLSA. Plaintiff further contends that she has worked in excess of
forty hours in many workweeks over the last three years, and that she is owed the FLSA-mandated
overtime premium for all hours worked over 40 in any workweek. Plaintiff also contends that she
is owed an equal amount in liquidated damages because Defendant cannot establish a “good faith”
defense under 29 U.S.C Section 260. Finally, Plaintiff contends that she is entitled to invoke the
FLSA’s three-year statute of limitations because Defendant’s violations of the FLSA with respect
to Plaintiff were willful.

Jury Trial

14. Plaintiff demands a trial by jury.

Conclusion and Prayer

11. Plaintiff prays that, upon final judgment, she be awarded the following:
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Unpaid overtime compensation;
Liquidated damages;

Attorney fees;

Costs of court; and

All other relief to which Plaintiff is entitled.

Respectfully submitted,

/S/ MICHAEL V. GALO, JR.
Michael V. Galo, Jr.

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